USCA4 Appeal: 25-1399      Doc: 19          Filed: 04/22/2025     Pg: 1 of 5




                                                                               FILED: April 22, 2025

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                                No. 25-1399
                                           (5:24-cv-00731-M-RJ)


        NORTH CAROLINA DEMOCRATIC PARTY,

                      Plaintiff – Appellant,

        v.

        NORTH CAROLINA STATE BOARD OF ELECTIONS; KAREN BRINSON BELL, in
        her official capacity as Executive Director of the North Carolina State Board of Elections;
        ALAN HIRSCH, in his official capacity as Chair of the North Carolina State Board of
        Elections; JEFF CARMON, in his official capacity as Secretary of the North Carolina
        Board of Elections; STACY EGGERS, IV, in his official capacity as a member of the North
        Carolina State Board of Elections; KEVIN N. LEWIS, in his official capacity as a member
        of the North Carolina State Board of Elections; SIOBHAN O’DUFFY MILLEN, in his
        official capacity as a member of the North Carolina Board of Elections,

                      Defendants – Appellees,

        and

        JUDGE JEFFERSON GRIFFIN,

                      Intervenor.


                                                 ORDER


        NIEMEYER, Circuit Judge, with whom HEYTENS, Circuit Judge, joins:

               In its opinion dated April 11, 2025, the North Carolina Supreme Court held (1) that

        persons casting military or overseas ballots must be notified of ballot deficiencies and given
USCA4 Appeal: 25-1399      Doc: 19          Filed: 04/22/2025     Pg: 2 of 5




        30 days within which to cure the deficiencies and (2) that the votes cast by “never residents”

        were properly ordered by the North Carolina Court of Appeals to be removed from the

        final count of the 2024 election for Supreme Court Seat 6. Griffin v. North Carolina State

        Board of Elections, __ S.E.2d __ 2025, 2025 WL 1090903 *4 (N.C. Apr. 11, 2025).

               On the same date, Allison Riggs, et al., filed an “Emergency Motion for Injunction

        and Motion for Status Conference” in the district court, requesting that the court proceed

        under Federal Rule of Civil Procedure 65 and the All Writs Act, 28 U.S.C. § 1651 and

        enjoin implementation of the North Carolina Supreme Court’s order “while [the district

        court] exercises jurisdiction over the federal issues in this case,” which she identified as

        arising under the Due Process Clause and the Equal Protection Clause of the U.S.

        Constitution. Specifically, she requested a “preliminary injunction” under Rule 65 on her

        federal constitutional claims and an injunction under the All Writs Act as necessary “to

        effectuate and prevent frustration of [the district court’s] order that it would ‘retain

        jurisdiction of the federal issues identified in the Board’s notice of removal should those

        issues remain after the resolution of the State court proceedings.’”

               In response, the district court entered a “Text Order” the next day, April 12, 2025,

        without prior notice or briefing, which stated:

               Pursuant to the court’s authority under the All Writs Act, the motion is
               GRANTED IN PART. Defendant North Carolina State Board of Elections
               is ORDERED to proceed in accordance with the North Carolina Court of
               Appeals opinion, Griffin v. N.C. State Bd. of Elections, No. COA25-181,
               2025 WL 1021724 (N.C. Ct. App. Apr. 4, 2025), as modified by the North
               Carolina Supreme Court in its April 11 Order, but SHALL NOT certify the
               results of the election, pending further order of this court.



                                                      2
USCA4 Appeal: 25-1399       Doc: 19         Filed: 04/22/2025     Pg: 3 of 5




        The court also established an expedited briefing schedule, to be completed by April 28,

        2025, so as to “to facilitate prompt resolution of this matter.” And by Text Order dated

        April 14, 2025, the court added that it intended to resolve the “motions for injunctive relief

        as soon as practicable.”

               On April 14, 2025, Riggs filed this appeal, as well as a “Motion for Stay and

        Injunction Pending Appeal” to prohibit the parties “from taking any action to enforce or

        effectuate the state-law remedy.” She maintains that the stay and injunction are necessary

        to enable her to have a resolution of her claims arising under the U.S. Constitution, which

        were retained for decision in the district court.

               Recognizing that the district court has not yet had the opportunity to exercise its

        jurisdiction under 28 U.S.C. § 1443 and address Riggs’ motion for preliminary injunction

        based on her federal constitutional claims, we grant her motion for a stay. In furtherance

        of federal jurisdiction, we enjoin the North Carolina State Board of Elections from mailing

        any notice to any potentially affected voter pending the district court’s resolution of Riggs’

        motion for a preliminary injunction.

               It is so ordered this 22nd day of April 2025.

                                                                 For the Court

                                                                 /s/ Nwamaka Anowi, Clerk




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USCA4 Appeal: 25-1399       Doc: 19            Filed: 04/22/2025   Pg: 4 of 5




        QUATTLEBAUM, Circuit Judge, dissenting from the grant of the motion to stay:

               I respectfully dissent. In the orders that are the subject of this appeal, the district

        court enjoined the North Carolina State Board of Elections from certifying the results of

        the election for the North Carolina Supreme Court Justice seat pending further order of the

        district court. It also set an extremely expedited briefing schedule for any remaining federal

        issues in the challenges to the election. The district court declined to enjoin the Board from

        implementing the cure process ordered by the North Carolina Supreme Court reasoning

        that the cure process would not cause irreparable harm since the Board had been ordered

        not to certify the election results.

               The district court called its order a temporary restraining order. What’s more, the

        order bears the hallmarks of a temporary restraining order. Thus, I do not believe we have

        jurisdiction to consider the motion for stay and injunction pending appeal. See Carson v.

        Am. Brands, Inc., 450 U.S. 79, 84 (1981) (Unless a litigant can show that an interlocutory

        order of the district court might have a “serious, perhaps irreparable, consequence,” and

        that the “order can be effectually challenged only by immediate appeal, the general

        congressional policy against piecemeal review will preclude interlocutory appeal.”

        (cleaned up)); see also Trump v. J. G. G., et al., 604 U.S. ---, 2025 WL 1024097, at *1

        (Apr. 7, 2025) (citing Carson, 450 U.S. at 84).

               And even if we have jurisdiction, the district court preserved its ability to resolve

        any remaining federal issues by ordering the Board not to certify the election results. It also

        set a very quick process for resolving any federal claims. At the same time, the court

        minimized any interference with state court litigation about a state election. I find no error

                                                        4
USCA4 Appeal: 25-1399       Doc: 19          Filed: 04/22/2025       Pg: 5 of 5




        in the district court’s handling of all these competing issues on a very compressed time

        frame. I certainly find no abuse of discretion.

               My dissent should not be construed as endorsing the views of any party as to the

        merits of any federal claims regarding the election or the challenges to it. It merely indicates

        that it is not yet appropriate for this court to weigh in.




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